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                                     #1143



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,


Plaintiff,

v.

SCOTT RIDDLE,

Defendant.                                         No. 06-CR-300167-DRH

                                    ORDER


HERNDON, Chief Judge:

             Now before the Court is the Government’s motion to continue the

sentencing (Doc. 378). Defendant does not oppose the motion. For the reasons

stated in the motion, the Court GRANTS the motion. The Court CONTINUES the

sentencing set for June 20, 2008 to July 25, 2008 at 9:30 a.m.

             IT IS SO ORDERED.

             Signed this 11th day of June, 2008.

                                                   /s/   DavidRHer|do|
                                                   Chief Judge
                                                   United States District Court
